     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 1 of 50 Page ID #:13


 1    Alison L. Lynch (SBN 240346)
      Remick M. Stahl (SBN 317065)
 2    JACKSON LEWIS P.C.
      200 Spectrum Center Drive, Suite 500
 3    Irvine, CA 92618
      Phone:      (949) 885-1360
 4    Fax: (949) 885-1380
      Alison.Lynch@jacksonlewis.com
 5    Remick.Stahl@jacksonlewis.com
 6    Attorneys for Defendant
      HAZELDEN BETTY FORD FOUNDATION
 7    (erroneously sued as Hazelden Betty Ford Foundation Inc.)
 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10

11    MITCHELL REYNOLDS, individual,              CASE NO. 5:21-cv-1505
12                                                [Riverside Superior Court Case No.
                        Plaintiff,                CVPS2103108]
13
            vs.                                   DECLARATION OF ALISON L.
14
      HAZELDEN BETTY FORD                         LYNCH IN SUPPORT OF NOTICE OF
15    FOUNDATION INC., a California               REMOVAL OF ACTION TO THE
      Corporation, and DOES 1-10 inclusive,       UNITED STATES DISTRICT COURT
16
                                                  FOR THE CENTRAL DISTRICT OF
17                      Defendants.               CALIFORNIA PURSUANT TO 28
18
                                                  U.S.C. §§ 1332, 1441(a) AND (b)
                                                  (DIVERSITY)
19
                                                  [Filed concurrently with the Civil Cover
20                                                Sheet; Notice of Removal; Declarations in
                                                  Support of Removal; Corporate Disclosure
21                                                Statement; Notice of Interested Parties; and
                                                  Notice of Related Cases]
22
                                                  Complaint:             June 30, 2021
23                                                Trial Date:            Not Set
24

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                                              1         DECLARATION OF ALISON L. LYNCH
                                                       ISO NOTICE OF REMOVAL OF ACTION
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 2 of 50 Page ID #:14


 1                           DECLARATION OF ALISON L. LYNCH
 2          I, Alison L. Lynch, declare and state as follows:
 3          1.     I am a Principal at the firm Jackson Lewis P.C., counsel of record for
 4    Defendant Hazelden Betty Ford Foundation (erroneously sued as Hazelden Betty Ford
 5    Foundation Inc.) (“Defendant”) and I am the attorney primarily responsible for
 6    representing Defendant in this matter. I make this declaration in support of Defendant’s
 7    Notice of Removal.
 8          2.     The following is based on my personal knowledge, and, if called as a witness,
 9    I could and would competently testify to the facts contained herein.
10          3.     Plaintiff Mitchell Reynolds (“Plaintiff”) filed a Complaint against Defendant
11    on June 30, 2021, in the Riverside Superior Court, which the state court designated as Case
12    No. CVPS2103108. A true and correct copy of the Complaint is attached as Exhibit A.
13          4.     On July 21, 2021, Counsel for Plaintiff emailed counsel for Defendant the
14    Summons and the Complaint, as well as a Notice and Acknowledgment of Receipt. A true
15    and correct copy of the Summons is attached as Exhibit B.
16          5.     On August 10, 2021, Counsel for Defendant executed the Notice and
17    Acknowledgment of Receipt and emailed it to Counsel for Plaintiff.
18          6.     On September 8, 2021, Defendant Answered the Complaint. A true and
19    correct copy of the Answer is attached as Exhibit C.
20          7.     As of the date of this Declaration, the attached Exhibit A, Exhibit B, and
21    Exhibit C constitute all of the pleadings filed or received by Defendant in this matter and
22    no further proceedings have been had in the state court as of the date of this Declaration.
23          8.     I have been representing employers in employment litigation for over fifteen
24    (15) years in California, and I am familiar with the fees requested by Plaintiff’s counsel in
25    similar actions filed in California State and federal courts alleging Fair Employment and
26    Housing Act violations and related claims. Based on Plaintiff’s allegations, it would not
27    be unreasonable to expect that Plaintiff will allege that attorneys’ fees will exceed the sum
28    of $75,000 for Plaintiff through trial.

                                                2          DECLARATION OF ALISON L. LYNCH
                                                          ISO NOTICE OF REMOVAL OF ACTION
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 3 of 50 Page ID #:15


 1          I swear under penalty of perjury and the laws of the United States and California that
 2    the foregoing is true and correct to the best of my knowledge and belief.
 3          Sworn to this 3rd day of September, 2021, at Irvine, California.
 4

 5
                                                   Alison L. Lynch
 6
                                                   State Bar No. 240346
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                                               3          DECLARATION OF ALISON L. LYNCH
                                                         ISO NOTICE OF REMOVAL OF ACTION
Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 4 of 50 Page ID #:16




                        EXHIBIT A
Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 5 of 50 Page ID #:17
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Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 8 of 50 Page ID #:20
Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 9 of 50 Page ID #:21
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Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 22 of 50 Page ID #:34
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Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 32 of 50 Page ID #:44
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Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 36 of 50 Page ID #:48
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Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 38 of 50 Page ID #:50
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                         EXHIBIT B
Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 40 of 50 Page ID #:52
Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 41 of 50 Page ID #:53




                         EXHIBIT C
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 42 of 50 Page ID #:54


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 5    Remick.Stahl@jacksonlewis.com

 6    Attorneys for Defendant
      HAZELDEN BETTY FORD FOUNDATION INC.
 7

 8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                 FOR THE COUNTY OF RIVERSIDE

10

11    MITCHELL REYNOLDS, individual,                         Case No. CVPS2103108

12                           Plaintiff,                      [Assigned For All Purposes to the
                                                             Hon. James Latting, Dept. PS2]
13           vs.
                                                             DEFENDANT HAZELDEN BETTY FORD
14    HAZELDEN BETTY FORD FOUNDATION                         FOUNDATION’S ANSWER TO PLAINTIFF’S
      INC., a California Corporation, and DOES 1-10          UNVERIFIED COMPLAINT
15    inclusive,
16
                             Defendants.                     Complaint:                     March 4, 2020
17                                                           Trial Date:                    Not Set
18

19
20           Defendant HAZELDEN BETTY FORD FOUNDATION (erroneously sued as Hazelden Betty
21    Ford Foundation Inc.) (“Defendant”) answers the unverified Complaint (“Complaint”) of Plaintiff
22    MITCHELL REYNOLDS (“Plaintiff”) as follows:
23                                              GENERAL DENIAL
24           Under the provisions of section 431.30 of the California Code of Civil Procedure, Defendant
25    denies each, every, and all of the allegations of the Complaint and the whole thereof and denies that
26    Plaintiff has sustained damages in the sum alleged, or in any other sum, or at all.
27           Further answering Plaintiff’s Complaint, and the whole thereof, Defendant denies that Plaintiff has
28    sustained any injury, damage or loss by reasons of any act or omissions or negligence on the part of this

                                               1
       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 43 of 50 Page ID #:55


 1    answering Defendant, or its agents or employees.

 2                                          AFFIRMATIVE DEFENSES

 3           Defendant further alleges, based on information and belief, the following affirmative defenses to

 4    the purported causes of action in the Complaint, without conceding that they bear the burden of proof or

 5    persuasion as to any one of them, as follows:

 6                                       FIRST AFFIRMATIVE DEFENSE

 7                                       (Failure to State a Cause of Action)

 8           1.      Plaintiff’s Complaint as a whole, and each purported cause of action alleged therein, fails

 9    to state facts sufficient to constitute a cause of action against Defendant.

10                                     SECOND AFFIRMATIVE DEFENSE

11                                            (After-Acquired Evidence)

12           2.      To the extent discovery or investigation may disclose information which could serve as a

13    basis for any defense by Defendant, Plaintiff is barred from recovery by the after-acquired evidence

14    doctrine.

15                                      THIRD AFFIRMATIVE DEFENSE

16                                              (Statutes of Limitation)

17           3.      Any recovery on Plaintiff’s Complaint, and each and every purported cause of action

18    alleged therein, is barred by the applicable statutes of limitation, including, but not limited to, California

19    Code of Civil Procedure sections 335.1, 337, 338, 339, 340, and 343 and Government Code sections
20    12940, 12960, and 12965, and Business and Professions Code section 17208.

21                                     FOURTH AFFIRMATIVE DEFENSE

22                                (Privileged, Good Faith, and Justified Conduct)

23           4.      Any recovery on Plaintiff’s Complaint is barred because Defendant’s conduct was

24    privileged and/or justified under California law and for valid business reasons.

25                                       FIFTH AFFIRMATIVE DEFENSE

26                                               (Equitable Doctrines)

27           5.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

28    barred under the equitable doctrines of consent, waiver, estoppel, and unclean hands.

                                               2
       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 44 of 50 Page ID #:56


 1                                      SIXTH AFFIRMATIVE DEFENSE

 2                                                     (Laches)

 3           6.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

 4    barred in that Plaintiff was guilty of laches and unreasonable delay in bringing this action and in asserting

 5    any claim for relief against Defendant.

 6                                    SEVENTH AFFIRMATIVE DEFENSE

 7                                         (Failure to Mitigate Damages)

 8           7.      Plaintiff is barred from recovering any damages, or any recovery must be reduced, by virtue

 9    of Plaintiff’s failure to exercise reasonable diligence to mitigate his alleged damages.

10                                     EIGHTH AFFIRMATIVE DEFENSE

11                                                      (Offset)

12           8.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

13    barred in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received from

14    any source after Plaintiff’s employment ended under the doctrine prohibiting double recovery set forth by

15    Witt v. Jackson (1961) 57 Cal.2d 57, and its progeny.

16                                      NINTH AFFIRMATIVE DEFENSE

17                                               (Failure to Exhaust)

18           9.      Any recovery on Plaintiff’s Complaint, and each and every purported cause of action

19    alleged therein, is barred in whole or in part because Plaintiff failed to properly and timely exhaust his
20    administrative remedies.

21                                      TENTH AFFIRMATIVE DEFENSE

22                                              (No Punitive Damages)

23           10.     Plaintiff’s claims for exemplary and punitive damages are barred in that Plaintiff has failed

24    to raise sufficient allegations of malice, oppression, or fraud by an officer, director or managing agent of

25    Defendant within the requirements of California Civil Code section 3294.

26                                   ELEVENTH AFFIRMATIVE DEFENSE

27                                      (Punitive Damages Unconstitutional)

28           11.     Although Defendant denies that it has committed or are responsible for any act that could

                                               3
       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 45 of 50 Page ID #:57


 1    support the recovery of punitive damages in this lawsuit, if any, to the extent any such act is found,

 2    recovery of punitive damages against Defendant is unconstitutional under numerous provisions of the

 3    United States Constitution and the California Constitution.

 4                                     TWELFTH AFFIRMATIVE DEFENSE

 5                                                  (Mixed-Motive)

 6           12.       Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

 7    barred because, assuming arguendo that discriminatory or retaliatory reasons had been a motivating factor

 8    in any employment decisions toward Plaintiff, Defendant would have made the same employment

 9    decisions toward Plaintiff in any case for legitimate, non-discriminatory, non-retaliatory business reasons.

10                                  THIRTEENTH AFFIRMATIVE DEFENSE

11                                       (Business Necessity/Job Relatedness)

12           13.       Any recovery on Plaintiff’s Complaint, or any purported cause of action therein, is barred

13    because Defendant’s employment practices were lawful as they were necessary to its business.

14                                  FOURTEENTH AFFIRMATIVE DEFENSE

15                                                (At-Will Employee)

16           14.       Any recovery on Plaintiff’s Complaint, and each purported claim for relief alleged therein,

17    is barred, in whole or in part, because Plaintiff’s employment was terminable at-will pursuant to California

18    Labor Code section 2922, and Defendant had the right to terminate his employment at any time for any

19    lawful reason.
20                                    FIFTEENTH AFFIRMATIVE DEFENSE

21                                     (Workers’ Compensation Pre-emption)

22           15.       Plaintiff is barred from seeking recovery against Defendant for any emotional or physical

23    injury because such recovery is barred by the exclusivity remedy provisions under the California Workers’

24    Compensation Act, Labor Code section 3600, et seq.

25                                    SIXTEENTH AFFIRMATIVE DEFENSE

26                                         (Claim Preclusion/Res Judicata)

27           16.       Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein is

28    barred by the doctrine of claim preclusion/res judicata.

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       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 46 of 50 Page ID #:58


 1                                SEVENTEENTH AFFIRMATIVE DEFENSE

 2                                                (Fitness for Duty)

 3            17.    Any recovery on Plaintiff’s Complaint, or any cause of action alleged therein, is barred in

 4    whole or in part because Plaintiff failed to provide written certification from his health care provider that

 5    he was fit to return to work.

 6                                    EIGHTEENTH AFFIRMATIVE DEFENSE

 7                                            (Health and Safety Risk)

 8            18.    Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

 9    barred because, even with reasonable accommodations, Plaintiff was unable to perform an essential duty

10    without endangering his health or safety or the health or safety of others.

11                                     NINETEENTH AFFIRMATIVE DEFENSE

12                                                (Undue Hardship)

13            19.    Any recovery on Plaintiff’s Complaint, or any alleged cause of action therein, is barred in

14    whole or in part by because assuming arguendo that Plaintiff had requested accommodation, those

15    accommodations would create an undue hardship to the operation of Defendant’s business.

16                                    TWENTIETH AFFIRMATIVE DEFENSE

17                                                      (Fraud)

18            20.    Any recovery on Plaintiff’s Complaint, or any purported cause of action therein, is barred

19    on the grounds that his requests for accommodation were fraudulent.
20                                TWENTY-FIRST AFFIRMATIVE DEFENSE

21                                            (Arbitration Agreement)

22            21.    Plaintiff is precluded from pursuing this matter in Court to the extent that there is a valid

23    and enforceable arbitration agreement mandating that all the claims at issue be submitted to binding

24    arbitration.

25                               TWENTY-SECOND AFFIRMATIVE DEFENSE

26                                           (Avoidable Consequences)

27            22.    Plaintiff is precluded from asserting his Complaint and each purported cause of action

28    therein, because he failed to exercise reasonable care to avoid the injuries he purportedly suffered.

                                               5
       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 47 of 50 Page ID #:59


 1                                TWENTY-THIRD AFFIRMATIVE DEFENSE

 2                                             (No Irreparable Harm)

 3           23.     Plaintiff’s claims are barred to the extent they seek injunctive, declaratory, and/or other

 4    equitable relief, in light of the fact that Plaintiff has an adequate remedy at law and has suffered no

 5    irreparable harm due to any alleged conduct of Defendant.

 6                               TWENTY-FOURTH AFFIRMATIVE DEFENSE

 7                                                 (Attorneys’ Fees)

 8           24.     Defendant has engaged attorneys to represent it in defense of Plaintiff’s Complaint, and

 9    Defendant is thereby entitled to an award of reasonable attorneys’ fees and costs.

10                                TWENTY-FIFTH AFFIRMATIVE DEFENSE

11                            (Third Party Conduct as Superseding/Alternate Cause)

12           25.     Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

13    barred because the damages claimed by Plaintiff were either wholly or partially, and either negligently or

14    intentionally, caused by or contributed to by third party persons, firms, corporations, or entities other than

15    Defendant or its authorized agents. Defendant is therefore entitled to apportionment among all such

16    parties according to their responsibility for such injuries and damages, if any, sustained by Plaintiff.

17                                TWENTY-SIXTH AFFIRMATIVE DEFENSE

18                                              (Additional Defenses)

19           26.     Because the Complaint is couched in conclusory terms, Defendant cannot fully anticipate
20    all defenses that may be applicable to this action. Accordingly, Defendant reserves the right to assert

21    additional and different defenses if and to the extent such defenses are applicable.

22

23           WHEREFORE, Defendant prays for judgment as follows:

24           1.      That Plaintiff takes nothing by his Complaint;

25           2.      That the Complaint be dismissed in its entirety with prejudice;

26           3.      That Plaintiff be denied each and every demand and prayer for relief contained in the

27                   Complaint;

28           4.      For cost of suits incurred herein including reasonable attorneys’ fees; and

                                               6
       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 48 of 50 Page ID #:60


 1          5.     For such other and further relief as the Court deems just and equitable.

 2

 3    DATED: September 2, 2021                   JACKSON LEWIS P.C.

 4

 5                                               By:
                                                         Alison L. Lynch
 6                                                       Remick M. Stahl
                                                         Attorneys for Defendant
 7                                                       HAZELDEN BETTY FORD FOUNDATION
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       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 49 of 50 Page ID #:61


 1                                              PROOF OF SERVICE

 2                           CALIFORNIA SUPERIOR COURT, COUNTY OF RIVERSIDE

 3    CASE NAME: MITCHELL REYNOLDS V. HAZELDEN BETTY FORD FOUNDATION INC.

 4    CASE NO.:              CVPS2103108

 5            I am employed in the County of Orange, State of California. I am over the age of 18 and not a
      party to the within action; my business address is 200 Spectrum Center Drive, Suite 500, Irvine,
 6    California 92618.

 7             On September 2, 2021, I served the foregoing document described as:

 8       DEFENDANT HAZELDEN BETTY FORD FOUNDATION’S ANSWER TO PLAINTIFF’S
                              UNVERIFIED COMPLAINT
 9
      in this action by transmitting a true copy thereof enclosed in a sealed envelope addressed as follows:
10
        Dimuth C. Amaratunge                             Attorneys for Plaintiff
11      Maya L. Serkova                                  MITCHELL REYNOLDS
        SERENDIB LAW FIRM, APC
12      765 The City Drive, Suite 355                    Phone:      714-703-1300
        Orange, CA 92868                                 Fax:        714-703-1304
13                                                       E-Mail:     da@serendiblaw.com
14                                                                   mserkova@serendiblaw.com

15
      [X]      BY EMAIL SERVICE: Based on a court order, an agreement of the parties to accept service by
16             e mail or electronic transmission, and/or pursuant to Cal. Rule of Court 2.251 and Cal. Code Civ.
               Proc. § 1010.6, I caused a true copy of the foregoing document(s) to be served by electronic email
17             transmission to email address(es) indicated herein. I did not receive, within a reasonable time after
               the transmission, any electronic message or other indication that the transmission was
18             unsuccessful. My e-mail address is carolina.rangel@jacksonlewis.com.

19    [X]      STATE - I declare under penalty of perjury under the laws of the State of California that the
               above is true and correct.
20
               Executed September 2, 2021 at Irvine, California.
21

22
                                                                     Carolina Rangel
23

24    4847-2180-4020, v. 2


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                                                   PROOF OF SERVICE
     Case 5:21-cv-01505-JGB-KK Document 1-1 Filed 09/03/21 Page 50 of 50 Page ID #:62


 1                                       PROOF OF SERVICE
 2
      CASE NAME:             Mitchell Reynolds v. Hazelden Betty Ford Foundation Inc.
 3
      CASE NO.:              5:21-cv-1505
 4
            I am employed in the County of Orange, State of California. I am over the age of
 5    18 and not a party to the within action; my business address is 200 Spectrum Center
      Drive, Suite 500, Irvine, California 92618.
 6
               On September 3, 2021, I served the foregoing document described as:
 7
            DECLARATION OF ALISON L. LYNCH IN SUPPORT OF NOTICE OF
 8      REMOVAL OF ACTION TO THE UNITED STATES DISTRICT COURT FOR
 9
          THE CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§
                                1332, 1441(a) AND (b) (DIVERSITY)
10    in this action by transmitting a true copy thereof enclosed in a sealed envelope addressed
      as follows:
11
        Dimuth C. Amaratunge                       Attorneys for Plaintiff
12      Maya L. Serkova                            MITCHELL REYNOLDS
        SERENDIB LAW FIRM, APC
13
        765 The City Drive, Suite 355              Phone: 714-703-1300
14      Orange, CA 92868                           Fax:   714-703-1304
                                                   E-Mail: da@serendiblaw.com
15
                                                           mserkova@serendiblaw.com
16
      [X]      BY EMAIL SERVICE: Based on a court order, an agreement of the parties to
17             accept service by e mail or electronic transmission, and/or pursuant to Cal. Rule of
               Court 2.251 and Cal. Code Civ. Proc. § 1010.6, I caused a true copy of the foregoing
18             document(s) to be served by electronic email transmission to email address(es)
               indicated herein. I did not receive, within a reasonable time after the transmission,
19             any electronic message or other indication         that    the transmission      was
               unsuccessful. My e-mail address is carolina.rangel@jacksonlewis.com.
20
      [X]      FEDERAL - I declare under penalty of perjury under the laws of the State of
21             California and the United States that the foregoing is true and correct, and that I
               am employed in the office of a member of the bar of this Court at whose direction
22             the service was made.
23             Executed September 3, 2021 at Irvine, California.
24

25
26                                                          Carolina Rangel
      4847-5280-4084, v. 1
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                                             PROOF OF SERVICE
